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       Golden State FC LLC
 10    Amazon Fulfillment Services, Inc.
       Amazon.com Services, Inc.
 11    Amazon.com, Inc.
 12
                            UNITED STATES DISTRICT COURT
 13
                          CENTRAL DISTRICT OF CALIFORNIA
 14
 15
       MARCELLUS MCMILLIAN, an                   Case No. 2:19-cv-02121-MWF (JCx)
 16    individual,
                                                NOTICE OF MOTION AND MOTION
 17                      Plaintiff,             FOR SUMMARY JUDGMENT OR,
                                                ALTERNATIVELY, FOR PARTIAL
 18          v.                                 SUMMARY JUDGMENT
 19    GOLDEN STATE FC LLC;                     Judge: Michael W. Fitzgerald
       AMAZON FULFILLMENT
 20    SERVICES, INC.; AMAZON.COM               Hearing Date:    March 16, 2020
       SERVICES, INC.; AMAZON.COM,
 21    INC.; DEVON FRANKLIN; and                Time:            10:00 A.M.
       DOES 3-100, inclusive,                   Ctrm:            5A
 22
                         Defendants.
 23
 24
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  1    TO THE HONORABLE COURT AND TO ALL PARTIES AND COUNSEL:
  2
             PLEASE TAKE NOTICE that on March 16, 2020, at 10:00 a.m., or as soon
  3
  4    thereafter as counsel may be heard, in Courtroom 5A, 350 West First Street, Los

  5    Angeles, CA 90012, Defendants Golden State FC LLC, Amazon Fulfillment
  6
       Services, Inc., Amazon.com Services, Inc., and Amazon.com, Inc. (collectively,
  7
  8    “Defendants”) will and hereby do move for summary judgment or, alternatively,
  9    partial summary judgement pursuant to Rule 56 of the Federal Rules of Civil
 10
       Procedure and Civil Local Rule 56-1.
 11
 12          Defendants move for summary judgment against Plaintiff as to all claims for
 13    relief contained in Plaintiff’s Complaint on the grounds that there is no genuine
 14
       dispute concerning any material fact and that Defendants are entitled to judgment as
 15
 16    a matter of law as to Plaintiff’s claims as alleged in the Complaint. Alternatively, if
 17    for any reason summary judgment cannot be had, Defendants will and hereby do
 18
       move the Court for an order adjudicating the following issues in Amazon’s favor and
 19
 20    against Plaintiff:
 21             FIRST CAUSE OF ACTION—DISCRIMINATION ON THE BASIS
 22                                OF DISABILITY
                             (Cal. Gov’t Code § 12940(a))
 23
 24          Issue No. 1: Plaintiff cannot maintain a claim against Defendants in his first

 25    cause of action for disability discrimination in violation of the Fair Employment and
 26
       Housing Act (“FEHA”) because Plaintiff cannot establish a prima facie case of
 27
 28    discrimination on the basis of disability.
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  1          Issue No. 2: Plaintiff cannot maintain a claim against Defendants in his first
  2
       cause of action for disability discrimination in violation of the FEHA because
  3
  4    Defendants articulated a legitimate non-discriminatory business reason for their

  5    termination of Plaintiff’s employment.
  6
             Issue No. 3: Plaintiff cannot maintain a claim against Defendants in his first
  7
  8    cause of action for disability discrimination in violation of the FEHA because
  9    Plaintiff cannot establish that Defendants’ legitimate non-discriminatory business
 10
       reason for terminating Plaintiff’s employment was a pretext for disability
 11
 12    discrimination.
 13          SECOND CAUSE OF ACTION—HARASSMENT ON THE BASIS OF
 14                              DISABILITY
                        (Cal. Gov’t Code § 12940(j), (k))
 15
 16          Issue No. 4: Plaintiff cannot maintain a claim against Defendants in his second

 17    cause of action for harassment in violation of the FEHA because Plaintiff cannot
 18
       demonstrate severe and pervasive misconduct that altered the conditions of his
 19
 20    employment or created an abusive working environment.

 21          Issue No. 5: Plaintiff cannot maintain a claim against Defendants in his second
 22
       cause of action for harassment in violation of the FEHA because Defendants took all
 23
 24    reasonable steps necessary to prevent discrimination and harassment.

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  1                  THIRD CAUSE OF ACTION—FAILURE TO PREVENT
  2                     DISCRIMINATION AND HARASSMENT
                            (Cal. Gov’t Code § 12940(j), (k))
  3
             Issue No. 6: Plaintiff cannot maintain a claim against Defendants in his third
  4
  5    cause of action for failure to prevent discrimination and harassment in violation of
  6
       FEHA because Plaintiff cannot establish any underlying discrimination or
  7
       harassment.
  8
  9          Issue No. 7: Plaintiff cannot maintain a claim against Defendants in his third
 10
       cause of action for failure to prevent discrimination and harassment in violation of
 11
       FEHA because Defendants took reasonable steps to prevent discrimination and
 12
 13    harassment.
 14
             Issue No. 8: Plaintiff cannot maintain a claim against Defendants in his third
 15
 16    cause of action for failure to prevent discrimination and harassment in violation of

 17    FEHA because Plaintiff cannot establish that he was harmed by discrimination and
 18
       harassment.
 19
 20          Issue No. 9: Plaintiff cannot maintain a claim against Defendants in his third

 21    cause of action for failure to prevent discrimination and harassment in violation of
 22
       FEHA because Plaintiff cannot establish a failure by Defendants to prevent
 23
 24    misconduct that was a substantial factor in causing him harm.

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  1                FOURTH CAUSE OF ACTION—FAILURE TO PROVIDE
  2                       REASONABLE ACCOMMODATION
                 (Cal. Gov’t Code § 12940, et seq., 42 U.S.C. § 12111, et seq.)
  3
             Issue No. 10: Plaintiff cannot maintain a claim against Defendants in his
  4
  5    fourth cause of action for failure to accommodate in violation of FEHA or the ADA
  6
       because the accommodation that Plaintiff required, an indefinite leave of absence, is
  7
       unreasonable and not required as a matter of law.
  8
  9          Issue No. 11: Plaintiff cannot maintain a claim against Defendants in his
 10
       fourth cause of action for failure to accommodate in violation of FEHA or the ADA
 11
       because additional extension of Plaintiff’s leave of absence was unreasonable and
 12
 13    not required as a matter law.
 14
             Issue No. 12: Plaintiff cannot maintain a claim against Defendants in his
 15
 16    fourth cause of action for failure to accommodate in violation of FEHA or the ADA

 17    because Plaintiff failed timely to support the need for an accommodation.
 18
             Issue No. 13: Plaintiff cannot maintain a claim against Defendants in his
 19
 20    fourth cause of action for failure to accommodate in violation of FEHA or the ADA

 21    because Plaintiff waived his right to any reasonable accommodation by failing to
 22
       engage in good faith in the interactive process.
 23
 24               FIFTH CAUSE OF ACTION—FAILURE TO ENGAGE IN AN
                             INTERACTIVE PROCESS
 25
             Issue No. 14: Plaintiff cannot maintain a claim against Defendants in his fifth
 26
 27    cause of action for failure to engage in the interactive process in violation of FEHA
 28
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  1    or the ADA because Plaintiff did not request a reasonable accommodation so that he
  2
       could perform the essential job requirements.
  3
  4          Issue No. 15: Plaintiff cannot maintain a claim against Defendants in his fifth

  5    cause of action for failure to engage in the interactive process in violation of FEHA
  6
       or the ADA because Defendants engaged in a good-faith interactive process.
  7
  8          Issue No. 16: Plaintiff cannot maintain a claim against Defendants in his fifth
  9    cause of action for failure to engage in the interactive process in violation of FEHA
 10
       or the ADA because Plaintiff cannot demonstrate that he was willing to participate
 11
 12    in an interactive process to determine whether reasonable accommodation could be
 13    made so he would be able to perform the essential job requirements.
 14
              SIXTH CAUSE OF ACTION— BREACH OF IMPLIED-IN-FACT
 15       AND/OR ORAL CONTRACT NOT TO TERMINATE EMPLOYMENT
 16                       WITHOUT GOOD CAUSE
 17          Issue No. 17: Plaintiff cannot maintain a claim against Defendants in his sixth
 18
       cause of action for breach of contract because Defendants were free to modify the
 19
 20    terms of Plaintiff’s at-will employment or terminate his employment in their sole

 21    discretion.
 22
             Issue No. 18: Plaintiff cannot maintain a claim against Defendants in his sixth
 23
 24    cause of action for breach of contract because Plaintiff cannot demonstrate that

 25    Defendants breached an existing contractual obligation.
 26
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  1             SEVENTH CAUSE OF ACTION—NEGLIGENT SUPERVISION,
  2                       HIRING, AND RETENTION
                           (California Common Law)
  3
             Issue No. 19: Plaintiff cannot maintain a claim against Defendants in his
  4
  5    seventh cause of action for negligent supervision because Plaintiff cannot
  6
       demonstrate that Defendants breached a duty owed to Plaintiff.
  7
             Issue No. 20: Plaintiff cannot maintain a claim against Defendants in his
  8
  9    seventh cause of action for negligent supervision, retention, or hiring because
 10
       Defendants took reasonable steps to prevent discrimination and harassment.
 11
             Issue No. 21: Plaintiff cannot maintain a claim against Defendants in his
 12
 13    seventh cause of action for negligent retention or hiring because Plaintiff cannot
 14
       establish that Defendants hired or retained an employee that it knew or should have
 15
 16    known created a risk of harm to Plaintiff.

 17          Issue No. 22: Plaintiff cannot maintain a claim against Defendants in his
 18
       seventh cause of action for negligent supervision because Plaintiff cannot establish
 19
 20    that Defendants knew or should have known of any employees that could not be

 21    trusted to act properly without being supervised.
 22
             Issue No. 23: Plaintiff cannot maintain a claim against Defendants in his
 23
 24    seventh cause of action for negligent supervision because Plaintiff cannot establish

 25    that Defendants’ supervision, retention, or hiring of any employee proximately
 26
       caused him harm.
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  1                       EIGHTH CAUSE OF ACTION—RETALIATION
  2                            (Cal. Gov’t Code § 12940(h))

  3          Issue No. 24: Plaintiff cannot maintain a claim against Defendants in his
  4
       eighth cause of action for retaliation in violation of the FEHA because Plaintiff
  5
       cannot establish a prima facie case of retaliation including, but not limited to, that
  6
  7    Plaintiff cannot establish a causal link or that there was any protected activity.
  8
             Issue No. 25: Plaintiff cannot maintain a claim against Defendants in his
  9
       eighth cause of action for retaliation in violation of the FEHA because Defendants
 10
 11    articulated a legitimate non-discriminatory business reason for its termination of
 12
       Plaintiff’s employment.
 13
 14          Issue No. 26: Plaintiff cannot maintain a claim against Defendants in his

 15    eighth cause of action for retaliation in violation of the FEHA because Plaintiff
 16
       cannot establish that Defendants’ legitimate non-discriminatory business reason for
 17
 18    terminating Plaintiff’s employment was a pretext for unlawful retaliation.

 19             NINTH CAUSE OF ACTION—WRONGFUL TERMINATION OF
 20               EMPLOYMENT IN VIOLATION OF PUBLIC POLICY
                 (Cal. Gov’t Code § 12900, et seq.; Cal. Labor Code § 1102.5)
 21
             Issue No. 27: Plaintiff cannot maintain a claim against Defendants in his ninth
 22
 23    cause of action for wrongful discharge in violation of public policy because Plaintiff
 24    cannot establish any underlying discrimination or retaliation.
 25
             Issue No. 28: Plaintiff cannot maintain a claim against Defendants in his ninth
 26
 27    cause of action for discharge in violation of California Labor Code § 1102.5 because
 28
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  1    Plaintiff cannot establish a prima facie case of retaliation including, but not limited
  2
       to, that Plaintiff cannot establish a causal link or that there was any protected activity.
  3
  4          Issue No. 29: Plaintiff cannot maintain a claim against Defendants in his ninth

  5    cause of action for discharge in violation of California Labor Code § 1102.5 because
  6
       Defendants articulated a legitimate non-discriminatory business reason for its
  7
  8    termination of Plaintiff’s employment.
  9          Issue No. 30: Plaintiff cannot maintain a claim against Defendants in his ninth
 10
       cause of action for discharge in violation of California Labor Code § 1102.5 because
 11
 12    Plaintiff cannot establish that Defendants’ legitimate non-discriminatory business
 13    reason for terminating Plaintiff’s employment was a pretext for discrimination or
 14
       retaliation in violation of the FEHA.
 15
 16             TENTH CAUSE OF ACTION—INTENTIONAL INFLICTION OF
                            EMOTIONAL DISTRESS
 17                         (California Common Law)
 18
             Issue No. 31: Plaintiff cannot maintain a claim against Defendants in his tenth
 19
 20    cause of action for intentional infliction of emotional distress because he cannot

 21    establish that Defendants engaged in extreme or outrageous conduct.
 22
             Issue No. 32: Plaintiff cannot maintain a claim against Defendants in his tenth
 23
 24    cause of action for intentional infliction of emotional distress because he cannot

 25    establish that Defendants acted intentionally, or with reckless disregard of the
 26
       probability of causing emotional distress.
 27
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   1         Issue No. 33: Plaintiff cannot maintain a claim against Defendants in his tenth
   2
       cause of action for intentional infliction of emotional distress because he cannot
   3
   4   establish that he experienced severe or serious emotional suffering.

   5                   PLAINTIFF’S CLAIMS FOR PUNITIVE DAMAGES
   6
             Issue No. 34: Plaintiff cannot recover punitive damages in this action because
   7
   8   he cannot establish that an officer, director, or managing agent for Defendants
   9   engaged in or ratified an act of oppression, fraud, or malice.
  10
             Issue No. 35: Plaintiff cannot recover punitive damages in this action because
  11
  12   the conduct alleged against Defendants does not constitute oppression, fraud, or
  13   malice within the meaning of California Civil Code, Section 3294.
  14
             This motion is based on this Notice of Motion and Motion, the Memorandum
  15
  16   of Points and Authorities, the Statement of Uncontroverted Facts and Conclusions of
  17   Law, the Declarations of Andrew Moriarty, Caitlin Favati, Tamisha Dennis, Priscilla
  18
       Bustamante, Amy Virden, and Mary Cortez Patterson, and all accompanying
  19
  20   exhibits; all pleadings and papers on file in this action, and upon such other evidence
  21   and argument as may be presented to the Court prior to or at the time of hearing.
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   1         This motion is made following the conference of counsel pursuant to L.R. 7-3
   2
       which took place on January 22, 2020.
   3
   4
       DATED: February 14, 2020                  PERKINS COIE LLP
   5
   6                                             By: /s/ Javier F. Garcia
                                                    Javier Garcia, Bar No. 296846
   7                                                jgarcia@perkinscoie.com
   8                                             Attorneys for Amazon Defendants
                                                 Golden State FC LLC
   9                                             Amazon Fulfillment Services, Inc.
                                                 Amazon.com Services, Inc.
  10                                             Amazon.com, Inc.
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